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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JESUS HIGA,                                      §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §                 Civil Action No. 4:22-cv-1706
                                                 §
CMG MORTGAGE, INC.,                              §
                                                 §
        Defendant.                               §

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        On this the 18th day of November 2022, Defendant CMG Mortgage, Inc. (“Defendant”)

and Plaintiff Jesus Higa (“Higa” or “Plaintiff”) (collectively, the “Parties”), by and through their

undersigned counsel, hereby stipulate that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), all claims and causes of action asserted by Plaintiff against Defendant are

dismissed with prejudice.

                                              Respectfully submitted,

                                              By:    /s/ Shelley L. Hopkins
                                                     Shelley L. Hopkins
                                                     State Bar No. 24036497
                                                     HOPKINS LAW, PLLC
                                                     3 Lakeway Centre Ct., Suite 110
                                                     Austin, Texas 78734
                                                     (512) 600-4320
                                                     BARRETT DAFFIN FRAPPIER
                                                     TURNER & ENGEL, LLP - Of Counsel
                                                     ShelleyH@bdfgroup.com
                                                     shelley@hopkinslawtexas.com

                                                     Robert D. Forster, II
                                                     State Bar No. 24048470
                                                     BARRETT DAFFIN FRAPPIER
                                                     TURNER & ENGEL, LLP
                                                     4004 Belt Line Road, Ste. 100
                                                     Addison, Texas 75001


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                                                  (972) 386-5040
                                                  RobertFO@bdfgroup.com

                                                  ATTORNEYS FOR DEFENDANT

                                                  /s/ Erick DeLaRule
                                                  Erick DeLaRue
                                                  Texas Bar No. 24103505
                                                  Law Office of Erick DeLaRue, PLLC
                                                  2800 Post Oak Boulevard, Suite 4100
                                                  Houston, Texas 77056
                                                  713-899-6727
                                                  erick.delarue@delaruelaw.com

                                                  ATTORNEYS FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of November 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF filing system, and will send a true and
correct copy to the following:

VIA ECF:
Erick DeLaRue
Law Office of Erick DeLaRue, PLLC
2800 Post Oak Boulevard, Suite 4100
Houston, Texas 77056
erick.delarue@delaruelaw.com

ATTORNEY FOR PLAINTIFF

                                                  /s/ Shelley L. Hopkins
                                                  Shelley L. Hopkins




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